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                         Netflix, Inc., and Netflix Worldwide
                       8 Entertainment, LLC
                       9
                                             UNITED STATES DISTRICT COURT
                  10
                                            CENTRAL DISTRICT OF CALIFORNIA
                  11
                  12       FIONA HARVEY,                        Case No. 2:24-cv-04744-RGK-AJR
                  13
                                         Plaintiff,             DECLARATION OF RICHARD GADD
                  14                                            IN SUPPORT OF DEFENDANTS’
                                v.                              SPECIAL MOTION TO STRIKE
                  15
                           NETFLIX, INC., and NETFLIX           Date:       September 3, 2024
                  16       WORLDWIDE ENTERTAINMENT,             Time:       9:00 a.m.
                           LLC,                                 Place:      Courtroom 850
                  17
                                         Defendants.            Hon. R. Gary Klausner
                  18
                  19                                            REDACTED VERSION OF
                                                                DOCUMENT PROPOSED TO BE
                  20                                            FILED UNDER SEAL
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                                                                                  Case No. 2:24-cv-04744-RGK-AJR
ATTOR NEY S A T LA W
  CENT URY CI TY
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                       1                      DECLARATION OF RICHARD GADD
                       2         I, Richard Gadd, declare as follows:
                       3 I.      BACKGROUND AND CAREER
                       4         1.    I am a comedian, writer, and actor. I created, wrote, and starred in the
                       5 Netflix series Baby Reindeer (the “Series”). I have personal knowledge of the facts
                       6 set forth below and, if called as a witness, could and would testify competently
                       7 thereto. I submit this declaration in support of defendants Netflix, Inc., and Netflix
                       8 Worldwide Entertainment, LLC’s special motion to strike.
                       9         2.    I have written and starred in several original theatre shows, including
                  10 Cheese and Crack Whores, Breaking Gadd, and Waiting for Gaddot, which all
                  11 debuted at the Edinburgh Fringe Festival from 2013–2015 and went on to have
                  12 successful runs at London’s Soho Theatre. The Edinburgh Fringe Festival is one of
                  13 the largest performing arts festivals in the world. It occurs annually in Edinburgh,
                  14 Scotland and showcases artists of every genre of live performance.
                  15             3.    In 2016, I wrote and starred in Monkey See Monkey Do, which won the
                  16 Edinburgh Comedy Award for Best Comedy Show. Monkey See Monkey Do went
                  17 on to have several sell-out runs at Soho Theatre, toured the United Kingdom and
                  18 Europe, and was broadcast on Comedy Central in 2017. Monkey See Monkey Do
                  19 touched on various themes, including, in particular, my own experience of sexual
                  20 abuse and my struggles with sexual identity. My character spends much of the show
                  21 running on a treadmill whilst being chased by a gorilla, training for the “Man’s Man
                  22 Final,” a competition of one’s ability to complete ultra “manly” tasks. The gorilla
                  23 represented how my brain had become lost to base primal emotions of fear and anger.
                  24 The competition was meant to represent my struggle to regain my masculinity and
                  25 my sense of self after I was sexually assaulted. Monkey See Monkey Do was a
                  26 fictionalized account of real experiences in my life.
                  27
                  28
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                       1
                                 4.        I also wrote and starred in the theatre production of Baby Reindeer,
                       2
                           which premiered at the 2019 Edinburgh Fringe Festival and won The Scotsman
                       3
                           Fringe First Award for New Writing and a Stage Award for Acting Excellence. Like
                       4
                           the Series, the show centered around an encounter with a stalker named Martha, and
                       5
                           addressed stalking, sexual assault, obsession, self-delusion, self-destruction, and
                       6
                           self-discovery.
                       7
                                 5.        I used real trauma as the basis for Monkey See Monkey Do and Baby
                       8
                           Reindeer, while creating characters, scenes, dialogue and dramatic devices to
                       9
                           support the fictionalized story. In other words, although these stage productions
                  10
                           were emotionally true and based on real events in my life, they dramatized people,
                  11
                           places, things, and events to tell a story.
                  12
                           II.   BABY REINDEER SERIES
                  13
                                 6.        The Series, which was released on Netflix on April 11, 2024, is based
                  14
                           on aspects of the Baby Reindeer stage production.
                  15
                                 7.        The Series reprises characters, scenes, and dialogue from the theatre
                  16
                           version of Baby Reindeer and is a continuation of my exploration of sexual abuse,
                  17
                           manipulation, exploitation, obsession, sexual identity, self-loathing, self-
                  18
                           destruction, and self-discovery.
                  19
                                 8.        My personal struggles with my sexual identity, and experiences with
                  20
                           sexual abuse, harassment, and stalking, inspired me to write and star in the theatre
                  21
                           version of Baby Reindeer, and subsequently, the Series.
                  22
                                 9.        The Series is a dramatic work. It is not a documentary or an attempt at
                  23
                           realism. While the Series is based on my life and real-life events and is, at its core,
                  24
                           emotionally true, it is not a beat-by-beat recounting of the events and emotions I
                  25
                           experienced as they transpired. It is fictionalized, and is not intended to portray
                  26
                           actual facts.
                  27
                  28
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                       1
                                  10.   While the Series is my emotionally true story as I recall and recount, it
                       2
                           is not intended to depict any real persons. Instead, I created fictionalized characters,
                       3
                           including Martha and Donny, which were foils to aid my exploration of my own
                       4
                           experiences and trauma. I intentionally used characters that did not share the actual
                       5
                           names of any persons from my life and wrote fictionalized dialogue and scenes.
                       6
                           Each of the characters from the Series has some imagined personality traits and
                       7
                           events that I specifically selected to make them useful as dramatic devices.
                       8
                                  11.   I used my experiences to craft the Martha character specifically to both
                       9
                           feed into Donny’s desperate need for attention and self-esteem issues and challenge
                  10
                           him in ways that make him confront his past abuse and its effects on him.
                  11
                                  12.   The Donny character is intended to be both a pitiable protagonist and,
                  12
                           at times, his own antagonist. Donny is also meant to provide a point of comparison
                  13
                           for Martha, and when the Series concludes, my hope was that the audience would
                  14
                           recognize that neither of them was truly the aggressor nor the victim. To further
                  15
                           reaffirm for the audience how those two characters are more alike than different, I
                  16
                           chose to end the Series with Donny sitting at a pub crying and the bartender giving
                  17
                           him a drink for free—precisely how Donny first meets Martha.
                  18
                                  13.   The Series is not a documentary representing literally true details and
                  19
                           imagery. It is a fictionalized retelling of my emotional journey through several
                  20
                           extremely traumatic real experiences. It is an expression of my views on stalking,
                  21
                           harassment, and sexual abuse told through the lens of my own experiences,
                  22
                           emotions, and self-reflections. I did not write the Series as a representation of actual
                  23
                           facts about any real person, including Fiona Harvey (“Harvey”). Harvey is never
                  24
                           mentioned in the Series.
                  25
                           III.   REAL-LIFE EXPERIENCES WITH FIONA HARVEY
                  26
                                  14.   In 2014, I met Harvey at the pub where I worked at the time, the Hawley
                  27
                           Arms. I noticed that Harvey looked distressed and offered her a cup of tea on the
                  28
                                                                       3
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                       1
                           house. On noticing each other’s accents, we engaged in what I took at that time to
                       2
                           be a friendly conversation, and discussed our common Scottish heritage.
                       3
                                 15.    Following that first meeting, Harvey subsequently stalked and harassed
                       4
                           me throughout 2014–2017. She frequently appeared at the pub. It quickly became
                       5
                           clear that she had memorised my shift pattern by hanging around the pub constantly.
                       6
                           She would then arrive just before my shift started on most days I was working and
                       7
                           sit at the end of the bar. She would also call the pub constantly on days when I was
                       8
                           not working to check if I was in. This went on for a very long period of time.
                       9
                           Sometimes she would stay for my entire shift, other times she would stay a few
                  10
                           hours. Sometimes she would just say something and abruptly leave.
                  11
                                 16.    Harvey’s behaviour quickly grew concerning for me. What started out
                  12
                           as someone sitting at the end of the bar and chatting most days, turned into her
                  13
                           directly impacting my ability to work, interjecting as I tried to serve tables, and
                  14
                           talking to most customers I served at the bar. She would often try to engage with
                  15
                           me by repeatedly trying to make jokes or “banter”. She would tell customers of the
                  16
                           pub that I was a comedian and sometimes adopt smutty innuendos to try and
                  17
                           embarrass me in front of staff. At first, I engaged with Harvey and her jokes—
                  18
                           viewing her as harmless—but it soon became exhausting, and I quickly grew
                  19
                           frustrated at her continual and unrelenting presence in my work life.
                  20
                                 17.    When Harvey was around, I had my guard up. There was a particularly
                  21
                           intense period of time when Harvey often attempted to touch me in inappropriate
                  22
                           (and sometimes sexual) ways. Harvey pinched and touched various parts of my
                  23
                           body, including my bum, and was generally very “handsy” towards me. The
                  24
                           attention was unwelcome and I found myself constantly trying to dodge Harvey’s
                  25
                           advances and unwanted physical contact while serving tables. I did ask Harvey to
                  26
                           leave me alone and to refrain from making advances towards me on several
                  27
                  28
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                       1
                           occasions; however, she ignored my requests and, as with her wider behaviour, she
                       2
                           was persistent and relentless.
                       3
                                 18.    Around March 2015, Harvey became increasingly hostile towards me
                       4
                           and others at the Hawley Arms. Matters escalated when I confronted Harvey in the
                       5
                           pub for falsely telling one of the regulars that we had sex, which she took badly.
                       6
                                 19.    On one occasion, Harvey mentioned to a customer at the bar a bad
                       7
                           review about me which she had seen online. I retorted by referring to news coverage
                       8
                           I had seen regarding Harvey’s harassment of former Member of Parliament Jimmy
                       9
                           Wray and his wife Laura Wray. She briefly left the pub. When she re-entered, I was
                  10
                           sitting on a wooden chair in the corner to the right of the bar, crouched down by the
                  11
                           condiments cupboard, marrying up the ketchups. Harvey came behind the bar to
                  12
                           where I was standing and shoved me in the back of my neck. I turned to find her
                  13
                           chastising me whilst pointing in my face. I remember that she referred to the
                  14
                           comedian Frankie Boyle’s “mouth” having “got him into trouble” and she said that
                  15
                           my “mouth would get me into trouble too.” She was furious and I found her
                  16
                           demeanour intimidating. I remember quickly apologising out of fear she was going
                  17
                           to hit me, as well as embarrassment at the fact a number of customers nearby were
                  18
                           looking over. She subsequently stormed out of the pub and repeated that my mouth
                  19
                           was going to get me into trouble as she left. The interaction was threatening, but I
                  20
                           was also embarrassed and angry that she had affronted me in such a physical and
                  21
                           public manner.
                  22
                                 20.    As matters escalated, Harvey’s visits to the pub became increasingly
                  23
                           intense. At times I would hide in the basement or on a balcony in the hope that she
                  24
                           would grow bored and leave the pub. I was scared of Harvey and what she might be
                  25
                           capable of, particularly having seen the articles about her behaviour towards the
                  26
                           Wrays online. A lot of the staff were intimidated by her too and tried to adopt
                  27
                           different measures to get her to leave me alone so as to not escalate things further.
                  28
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                       1
                           For example, staff would tell her that I was not working so she would leave or
                       2
                           pretend that I had left the Hawley Arms. Nothing deterred her, and I remember long
                       3
                           shifts where I would sit out on the balcony or in the basement for hours waiting for
                       4
                           her to leave.
                       5
                                 21.       Harvey sometimes waited outside the pub for me to finish work. She
                       6
                           also followed me around town, sometimes very close to where I live, and she
                       7
                           attended many of my comedy and theatre performances. Often when I posted about
                       8
                           a performance online, usually on Twitter, Harvey would then turn up and
                       9
                           occasionally be disruptive. On one occasion, I was appearing in a show at Aces and
                  10
                           Eights in London in July 2016 when, before the show started, the producer spotted
                  11
                           Harvey in the audience. The producer subsequently went around the audience and
                  12
                           told everyone other than Harvey that we would be pretending the show had been
                  13
                           cancelled but that they could return 10 minutes later, just to get Harvey to leave. I
                  14
                           was then catching some fresh air when, on leaving the venue, Harvey confronted me
                  15
                           about cancelling the show. Another member of the producing team had to stand
                  16
                           between me and Harvey, who was becoming increasingly animated towards me. In
                  17
                           addition, I have always had to put extensive measures in place to stop Harvey from
                  18
                           attending my shows including at venues like the Soho Theatre and the Bush Theatre,
                  19
                           as well as involving producing partners Berk’s Nest and Francesca Moody
                  20
                           Productions to help manage the situation.
                  21
                                 22.       Around July 2014, Harvey obtained my email address from my
                  22
                           personal website, which at the time included my contact details to facilitate enquiries
                  23
                           and bookings for comedy performances. Harvey emailed me relentlessly throughout
                  24
                           all hours of the day and night. She would sometimes send emails at 2 a.m. or 4 a.m.,
                  25
                           and at times she would send multiple emails in a single day. I never engaged with,
                  26
                           responded to, or referred to Harvey’s emails because I feared it would only make
                  27
                           matters worse if she knew for certain that I had been receiving them.
                  28
                                                                       6
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                       1
                                 23.    Harvey sent me thousands of emails, hundreds of voicemails, and a
                       2
                           number of handwritten letters. These communications often included sexually
                       3
                           explicit, violent, and derogatory content, hateful speech, and threats. The emails and
                       4
                           voicemails attached to this declaration represent just a fraction of those I received
                       5
                           from Harvey. Most of the emails referenced in this declaration were provided to the
                       6
                           police. Below, I provide some examples of the types of emails I received from
                       7
                           Harvey.
                       8
                                 24.    Harvey regularly monitored my social media and sent me emails
                       9
                           discussing photos posted on my Twitter account. On January 29, 2015, Harvey sent
                  10
                           me an email with the subject line “yummy mummy,” which stated “I see your mum
                  11
                           is on twitter . . . I looked up yours to see what was going on in your head and you
                  12
                           retweeted her.” Attached hereto as Exhibit 1 is a true and correct copy of the
                  13
                           January 29, 2015 email from Harvey. On September 17, 2016, Harvey emailed me
                  14
                           “I love the photo of you sleeping on twitter.” Attached hereto as Exhibit 2 is a true
                  15
                           and correct copy of the September 17, 2016 email from Harvey.
                  16
                                 25.    Harvey’s emails frequently contained hateful speech and derogatory
                  17
                           racist and homophobic language. For example, Harvey told me “[y]ou look gay in
                  18
                           one of those online photos” and stated “I would kill a Muslim if they attacked you,”
                  19
                           “[I] hate [M]uslims . . . noise noise noise act like animals,” and “[a]ll Moslems [sic]
                  20
                           should be tied up by the balls to hang from trees.” Attached hereto as Exhibits 3–5
                  21
                           are true and correct copies of the June 13, 2016; July 15, 2016; and July 17, 2015
                  22
                           emails from Harvey. In another email, Harvey admitted “[n]o wonder I’m a racist.”
                  23
                           Attached hereto as Exhibit 6 is a true and correct copy of the August 2, 2016 email
                  24
                           from Harvey. On May 29, 2016, Harvey stated “I can’t stand this gay business . . .
                  25
                           It makes me squirm actually . . . [y]uk yuk.” Attached hereto as Exhibit 7 is a true
                  26
                           and correct copy of the May 29, 2016 email from Harvey.
                  27
                  28
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                       1
                                  26.    Harvey frequently made personal attacks and threatened me in her
                       2
                           emails. On January 25, 2015, Harvey sent me a lengthy email acknowledging that
                       3
                           she had been banned from the Hawley Arms, the pub where I was employed, calling
                       4
                           me “naive [sic] ugly stupid and badly educated,” insulting and threatening several
                       5
                           of my colleagues at the pub, and threatening me with litigation. Harvey also
                       6
                           threatened me to “move back to [G]lasgow,” a “[C]atholic mafia kind of place full
                       7
                           of paedos [sic] and gangs and liars and crimbos . . . That might suit you just fine”
                       8
                           and stated she had “considerable” contacts in “[every] walk of life . . . all very angry
                       9
                           with you,” including “a number of [law] firms.” While this email stated that Harvey
                  10
                           was “blocking [my] email account” and finished speaking to me, she continued to
                  11
                           send hundreds of emails after this. Attached hereto as Exhibit 8 is a true and correct
                  12
                           copy of the January 25, 2015 email from Harvey.
                  13
                                  27.    On January 25, 2016, Harvey mailed me a multi-page handwritten
                  14
                           letter, which was barely legible. The letter claimed that Harvey did not read emails
                  15
                           because she was “allergic to emails,” called me a “prick” and demanded that I call
                  16
                           her because she was “fed up with the fannying about.” Attached hereto as Exhibit
                  17
                           9 is a true and correct copy of the January 25, 2016 letter from Harvey.
                  18
                                  28.    Harvey threatened me that I had a “very big enemy in the acting world.
                  19
                           [I’m] not telling you who that is but they are saying you are all image image and
                  20
                           apain [sic] in the butt . . . frankly [I’m] not surprised . . . narcissists are like that.”
                  21
                           Attached hereto as Exhibit 10 is a true and correct copy of the January 30, 2015
                  22
                           email from Harvey.
                  23
                                  29.    On September 13, 2016, Harvey also threatened that I needed to “shut
                  24
                           [my] ignorant little failed actor mouth” because I was “finished.” Harvey also made
                  25
                           derogatory remarks about my sexuality in this email, stating she was glad we had
                  26
                           never dated because “you are gay and I’d have aids.” Attached hereto as Exhibit 11
                  27
                           is a true and correct copy of the September 13, 2016 email from Harvey.
                  28
                                                                        8
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                       1
                                 30.    Harvey frequently made threats of physical violence in her emails. In
                       2
                           one email, for example, Harvey indicated she was heading to the gun shop to “buy[]
                       3
                           guns to shoot each other” and that “[i]f we get rid of [K]han everyone will sleep
                       4
                           easy.” This email referred to Sadiq Khan, a Labour Party politician who had recently
                       5
                           been elected as the Mayor of London, and was the first Muslim to hold that position.
                       6
                           Attached hereto as Exhibit 12 is a true and correct copy of the May 4, 2016 email
                       7
                           from Harvey. Attached hereto as Exhibit 13 is a true and correct copy of an August
                       8
                           29, 2016 email from Harvey.
                       9
                                 31.    Harvey also sent me emails discussing her plans to run for political
                  10
                           office to displace Labour Party members, including claiming that she was on “four
                  11
                           shortlists” for seats in Parliament. Attached hereto as Exhibits 14–16 are true and
                  12
                           correct copies of emails from Harvey sent February 1, 2015; February 12, 2015; and
                  13
                           August 15, 2016.
                  14
                                 32.    Harvey also sent me emails describing her troubling interactions with
                  15
                           others. For instance, on November 18, 2014, she wrote me that “[b]y the way piers
                  16
                           gas [sic] a great ass pinched if [sic] last night. Great ass.” Attached hereto as
                  17
                           Exhibit 17 is a true and correct copy of the November 18, 2014 email from Harvey.
                  18
                                 33.    Harvey also regularly propositioned me with lewd and explicit
                  19
                           language. For example, Harvey emailed me “I want to suck your cock all day have
                  20
                           u shag me and have a stab at this” and threatened me with an “ultimatum,”
                  21
                           demanding “sex three times at night and twice in the morning” and stated “I just
                  22
                           want to give u loads and loads of blow jobs to make you sleep.” Attached hereto as
                  23
                           Exhibits 18–20 are true and correct copies of the September 11, 2016; November,
                  24
                           11, 2014; and May 11, 2016 emails from Harvey.
                  25
                                 34.    In another email, Harvey made sexual advances toward me while also
                  26
                           making xenophobic remarks, stating “I can’t stand all the bloody foreigners in the
                  27
                           streets this time of year . . . I did so much want to . . . let u fuck my brains [o]ut.”
                  28
                                                                       9
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                       1
                           Attached hereto as Exhibit 21 is a true and correct copy of the July 24, 2016 email
                       2
                           from Harvey.
                       3
                                 35.    Harvey sent numerous emails discussing my body. For example, on
                       4
                           January 18, 2015, she wrote that “obviiusly [sic] miss your luvly [sic] bum” and that
                       5
                           it is “the luvliets [sic] bum”. On May 8, 2015, Harvey emailed me that “you still
                       6
                           have a cute ass though … I have been thinking a lot about your ass … its your best
                       7
                           bit.” On August 24, 2015, Harvey emailed that “you do have a great ass and if u
                       8
                           invite sone [sic] gay guy back to your flat hell [sic] think it’s Xmas.” On July 21,
                       9
                           2016, Harvey sent me multiple emails, including “My sweetness I do love your hair
                  10
                           and your bum [sic]” and “Oh Richard [G]add your bum. Your bum”. On September
                  11
                           2, 2016, Harvey wrote, among other things, “You’ve got the best bum I’ve ever seen
                  12
                           ….” On September 20, 2016, she wrote “Your bum incidentally is the best bum I’ve
                  13
                           ever seen on a guy ever and I’ve seen some nice bums … Cracking ass you have.”
                  14
                           Attached hereto as Exhibits 22–27 are a true and correct copies of the January 18,
                  15
                           2015; May 8, 2015; August 24, 2016; July 21, 2016; September 2, 2016; and
                  16
                           September 20, 2016 emails from Harvey.
                  17
                                 36.    Harvey also sent me emails with photos of herself and her underwear.
                  18
                           On April 20, 2016, Harvey sent me a photo of her student ID, with an email stating
                  19
                           “Th[i]s me at twenty five.” On April 21, 2016, Harvey sent me a photo of her
                  20
                           underwear. On May 11, 2016, Harvey sent me a photo of herself with an email
                  21
                           stating “C I was sober before I went out.” Attached hereto as Exhibits 28–30 are a
                  22
                           true and correct copies of the April 20, 2016; April 21, 2016; and May 11, 2016
                  23
                           emails from Harvey.
                  24
                                 37.    Harvey frequently described her menstrual cycle, breasts, pubic hair,
                  25
                           and masturbation habits in graphic detail. For example, on November 18 and 19,
                  26
                           2014, Harvey emailed me about her menstrual cycle, stating “I’m clotting badly. I
                  27
                           think we can safely say I’m not menopausal babe” and “[t]his blood loss is excessive
                  28
                                                                     10
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ATTOR NEY S A T LA W
  CENT URY CI TY
                                                                          DECLARATION OF RICHARD GADD IN SUPPORT
                                                                          OF DEFENDANTS’ SPECIAL MOTION TO STRIKE
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                       1
                           sounds gruesome but I should have kept it all in a jar to show the dr.” On December
                       2
                           28, 2014, Harvey emailed me “hi my clitoris dropped off . . . too much masturbation
                       3
                           . . . had a l;ovely [sic] xmas day just pleasing myself.” On April 27, 2016, Harvey
                       4
                           sent me an email stating that she was “[f]ed up with the highlight of my day being
                       5
                           masturbating. I mean I like masturbating” and on May 6, 2016, Harvey emailed me
                       6
                           that she had “masturbated and looked at photos of cute babies.” On May 13, 2016,
                       7
                           Harvey sent another graphic email about her menstruation cycle, stating “heavy
                       8
                           bleeding started Monday . . . My tits and tummy were looking six months pregnant
                       9
                           last week,” and on June 10, 2016, Harvey emailed me again about menstruating:
                  10
                           “Worst feeling when sanitary towels cha[fe] v skin . . . Have become allergic to
                  11
                           tampons.” On September 9, 2016, Harvey sent lengthy, incoherent email stating
                  12
                           “I’ve got to get the beef off the tits and belly . . . I’ve piled it on cos I used to walk
                  13
                           at night but my drug dealing neighbor next door keeps getting busted . . . I’d kick
                  14
                           out at him physically in a minute but I can’t risk an assault conviction . . . In fact
                  15
                           [I’d] fg kill the b . . . I do have great nipples though I have to say.” Attached hereto
                  16
                           as Exhibits 31–38 are true and correct copies of emails from Harvey sent on
                  17
                           November 18, 2014; November 19, 2014; December 28, 2014; April 27, 2016; May
                  18
                           6, 2016; May 13, 2016; June 10, 2016; and September 9, 2016.
                  19
                                 38.    Harvey’s emails and social media posts demonstrated that she was
                  20
                           regularly attending my performances. For instance, on November 18, 2015, Harvey
                  21
                           sent me an email with the subject “your show” and wrote “i [sic] liked the bit where
                  22
                           ben was kicking your arse cos [sic] the back view of your arse was perfect … that’s
                  23
                           your best bit . . . ” On August 7, 2016, Harvey sent me an email that my “show is
                  24
                           very funny” (and that she “[w]as gonna have a lie in but needed to masturbate.
                  25
                           Where’s u and your cock when I need it.”). On August 28, 2016, Harvey sent me
                  26
                           an email speculating “I think you were assaulted and I’ll tell you why” and including
                  27
                           details she could have only observed from attending one of my performances.
                  28
                                                                       11
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ATTOR NEY S A T LA W
  CENT URY CI TY
                                                                            DECLARATION OF RICHARD GADD IN SUPPORT
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                       1
                           Attached hereto as Exhibits 39–41 are true and correct copies of the emails from
                       2
                           Harvey dated November 18, 2015; August 7, 2016; and August 28, 2016.
                       3
                                 39.    On June 22, 2017, Harvey publicly tweeted about my play Monkey See
                       4
                           Monkey Do. Harvey stated that she “wouldn’t believe a worfd [sic]” that came out
                       5
                           of my mouth about the sexual abuse I suffered because she had “bitter expertiencves
                       6
                           [sic]” with me. Attached hereto as Exhibit 42 is a true and correct copy of Harvey’s
                       7
                           June 22, 2017 tweets.
                       8
                                 40.    After years of enduring Harvey’s stalking, harassment, abuse and
                       9
                           threats, I went to the police in February 2016. The police warned me that “police
                  10
                           intervention might exacerbate the situation, and lead to further prolonged contact
                  11
                           from her,” and recommended that they refer Harvey “to the appropriate mental
                  12
                           health/community intervention team for support in this case,” rather than issue a
                  13
                           First Instance Harassment Warning Letter. Attached hereto as Exhibit 43 is a true
                  14
                           and correct copy of the February 10, 2016 email thread between me and the police.
                  15
                           At this time, the harassment had become less frequent, so I agreed with the police
                  16
                           officer’s recommendation.
                  17
                                 41.    However, in the following months, I continued to receive hundreds of
                  18
                           emails from Harvey, and in May 2016, I reached back out to the police to express
                  19
                           my concern and reopen the harassment case. I attached an example of one of
                  20
                           Harvey’s emails, which stated “Masturbate that should send u to sleep . . . I’m a
                  21
                           wreck today. I’ve hit itchy pubic hair too . . . It’s a rash . . . I’ve wanted more sex in
                  22
                           my forties had more sex and masturbated more than in my twenties and thirties.” In
                  23
                           response, the police recommended that I block Harvey’s email address for the time
                  24
                           being and advised me to inform the Hawley Arms that Harvey had been in contact
                  25
                           with me again. Due to Harvey’s frequent threatening visits to the pub, a First
                  26
                           Instance Harassment Warning Letter had been issued against her listing the pub as
                  27
                  28
                                                                       12
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  CENT URY CI TY
                                                                            DECLARATION OF RICHARD GADD IN SUPPORT
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                       1
                           the victim at the time. Attached hereto as Exhibit 44 is a true and correct copy of
                       2
                           the May 6, 2016 email thread between me and the police.
                       3
                                 42.    In September 2016, Harvey obtained my telephone number. This
                       4
                           happened at a point when I was away on holiday in Croatia and had switched on the
                       5
                           out-of-office function on my email account. The out-of-office reply contained my
                       6
                           phone number, and I had not thought it through that, if Harvey emailed me during
                       7
                           this period, she would receive an automatic reply which included my telephone
                       8
                           number in the footer of the email.
                       9
                                 43.    Once she obtained my phone number, Harvey began calling me and
                  10
                           leaving hundreds of voicemails. I do not have a record of all the voicemails, but I
                  11
                           have many hours of voicemails from Harvey that I recorded and still have. The
                  12
                           voicemails included graphic details about Harvey’s sexual exploits, stories about
                  13
                           catching sexually transmitted diseases, threats to me, my family, my coworkers, and
                  14
                           other victims of Harvey’s stalking and harassment.
                  15
                                 44.    Over just a few days in September 2016, Harvey left me hours of
                  16
                           voicemails. As soon as my voicemail box cut her off, she would immediately call
                  17
                           back and leave another voicemail.       During this string of voicemails, Harvey
                  18
                           profusely insulted me, calling me a “bipolar alcoholic,” and claiming the “whole of
                  19
                           Glasgow” hated me and had an “axe to grind” with me. She also made threats against
                  20
                           my family, stating “I know your family,” and that they have “enemies.” She claimed
                  21
                           that she had a “file” on me and that a lot of people “know about me,” and threatened
                  22
                           to sue me and shut down the Hawley Arms, stating that she had the power to do so
                  23
                           (“We can do that.”). Harvey also threatened me not to tell the police about her
                  24
                           voicemails and emails and said she had “access” to the police files. She claimed that
                  25
                           undercover police officers, drug dealers, lawyers, and ex-lawyers were all after me
                  26
                           and that the comedy industry hated my guts. Harvey threatened me with physical
                  27
                           violence, stating she would “smash [my] balls in,” and made violent threats to my
                  28
                                                                     13
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  CENT URY CI TY
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                       1
                           coworker, stating that she “is a cock sucking little whore with no tits . . . she’s a cock
                       2
                           sucking Spanish whore who shouldn’t even be in the country” and threatening to
                       3
                           take a “heap of guys that would have actually gone right through” her, who were
                       4
                           “professional guys” that would have “hit” her and threatened to have her deported.
                       5
                           She also referenced “petering [someone] up the ass” and “peeling off their toenails”
                       6
                           and repeated “if I want you dead, you are fucking dead” multiple times in these
                       7
                           messages, and stated “if I hadn’t been a lawyer, I would have smashed somebody’s
                       8
                           face in.” Attached hereto as Exhibit 45 is a true and correct copy of the series of
                       9
                           voicemails left by Harvey on September 12 and 13, 2016.
                  10
                                 45.    On September 17, 2016, I emailed the police, informing them that
                  11
                           Harvey again left me hours of voicemails. I also prepared a document outlining the
                  12
                           “particularly threatening/aggressive moments” from the voicemails for the police. I
                  13
                           then coordinated with the police to hand off an SD card with the voicemail
                  14
                           recordings on September 19, 2016. Attached hereto as Exhibit 46 is a true and
                  15
                           correct copy of the September 17–19, 2016 email thread between me and the police.
                  16
                                 46.    On September 19, 2016, Harvey left me another string of voicemails,
                  17
                           during which she claimed to have information on my family and once again warned
                  18
                           me not to speak to the police, stating she was “so angry at [me] shouting [my] mouth
                  19
                           off.” In this voicemail, Harvey claimed to know “100,000 lawyers” and threatened
                  20
                           me “[y]ou’re not as bright as you think you are . . . I’m 25,000 steps ahead of you.”
                  21
                           She stated that she would create “World War Three over a sketch,” referencing my
                  22
                           comedy shows. She also went into explicit detail about her sex life and again
                  23
                           insulted the same coworker, claiming to have reported her to immigration law and
                  24
                           threatening that she would stop her from obtaining employment anywhere in the
                  25
                           country. Harvey also admitted “I’m a racist,” and that she wanted to “boot” all
                  26
                           Pakistanis “out of the country.” Attached hereto as Exhibit 47 is a true and correct
                  27
                           copy of the series of voicemails left by Harvey on September 19, 2016.
                  28
                                                                       14
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  CENT URY CI TY
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                       1
                                 47.    On September 21, 2016, I followed up with the police and sent another
                       2
                           email attaching 30 examples of emails from Harvey ranging from 2014–2016. In
                       3
                           addition to the emails previously referenced, I also attached emails in which Harvey
                       4
                           threateningly stated “your place of work was allegedly raided by several agencies
                       5
                           last [S]aturday? [A] little birdie told me” and “Just for the record I have multiple
                       6
                           orgasms cos I train my men up sexually . . . .” I also included examples of Harvey’s
                       7
                           hate speech, including an email stating “from now on do call folk retards
                       8
                           partic[ularly] if in the labour party if stark raving homos or castholics [sic] . . . im
                       9
                           right behind you . . . i just hate [C]atholics poofters etc . . . and im a racist … apart
                  10
                           from that i’m a really sweet wee girlie good at sedx [sic].” In other emails, Harvey
                  11
                           stated “if I get one more peep . . . [o]ut of so called feminist [] gay or ethnic minority
                  12
                           folk ill blow my top . . . Oh I’m gay I’m gay … Oh I’m black in [sic] black . . . Oh
                  13
                           ima [sic] Muslim poor me . . . Oh I’m trying to be a pretend feminist poor me,” and
                  14
                           “London very dangerous all these Somalians . . . I told u they were nothing but
                  15
                           trouble.” Attached hereto as Exhibit 48 is a true and correct copy of my September
                  16
                           21, 2016 email to the police with attachments.
                  17
                                 48.    On September 21, 2016, Harvey left me another string of lengthy
                  18
                           voicemails, which contained violently racist rhetoric for several minutes, stating “I
                  19
                           want all these foreigners out . . .far too many foreigners coming in . . . if that sounds
                  20
                           racist, too bad.” During this voicemail, Harvey references that she has been calling
                  21
                           me with “No Caller ID,” thereby revealing that she knew I had blocked her phone
                  22
                           number but persisted in calling me nonetheless. Harvey admitted to sending me her
                  23
                           underwear, and states “I have had mad stalkers too,” in a seeming admission that she
                  24
                           has been stalking me. She once again went into detail about her sex life, her pubic
                  25
                           hair, and masturbation, and warned me to get “checked for sexual disease.” Attached
                  26
                           hereto as Exhibit 49 is a true and correct copy of the series of voicemails left by
                  27
                           Harvey on September 21, 2016.
                  28
                                                                       15
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  CENT URY CI TY
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                       1
                                 49.    On September 27, 2016, Harvey left me another threatening voicemail,
                       2
                           stating “I cannot express how angry I am at the way you set me up . . . I know about
                       3
                           you and your family. Stay in fucking Croatia. And that is really my final word. I
                       4
                           bloody mean it this time . . . I think you’ve got psychiatric problems, but I think it’s
                       5
                           made up and caused by drugs . . . Fuck off. Yeah. Absolutely. Fuck off.” She also
                       6
                           claimed “I have information you don’t need to know, I know, about you and your
                       7
                           family.” Attached hereto as Exhibit 50 is a true and correct copy of the voicemail
                       8
                           left by Harvey on September 27, 2016.
                       9
                                 50.    I emailed the police again with a list of the most “intense parts of the
                  10
                           voicemails” and coordinated with the police to drop off a “pendrive with all the
                  11
                           information regarding Fiona Harvey on it,” including the voicemail recordings.
                  12
                           Attached hereto as Exhibit 51 is a true and correct copy of my September 30, 2016
                  13
                           email to the police.
                  14
                                 51.    By this time, Harvey’s harassment had been plaguing my life for over
                  15
                           two years. I was fearful. I continually changed my daily routines to try to avoid her
                  16
                           and would not spend time in parts of London I knew Harvey frequented (indeed I
                  17
                           am still apprehensive about going to certain parts of London because of her). I could
                  18
                           not sleep. When I did sleep, I would wake up in the night sweating. I spent countless
                  19
                           weekends noting down Harvey’s threatening voicemails. I was panicked and
                  20
                           paranoid. I was terrified about getting on tubes and buses for fear of seeing her. I
                  21
                           genuinely was worried that she might harm me or my parents—my parents
                  22
                           especially. In short, her actions took an extensive toll on my physical and especially
                  23
                           my mental well-being.
                  24
                                 52.    The cumulative effect of all of Harvey’s actions was enormous. It was
                  25
                           exhausting and extremely upsetting to deal with her constant personal interactions
                  26
                           in the Hawley Arms, her following me around London including near where I lived
                  27
                           and her relentless and deeply unpleasant communications. As I explain above, I was
                  28
                                                                      16
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  CENT URY CI TY
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                       1
                           frightened about what she might be capable of, given the progressive hostility and
                       2
                           escalation in her communications, and volume of her conduct.
                       3
                                 53.    After many months of speaking to the Police, I eventually obtained a
                       4
                           First Instance Harassment Warning against Harvey. After I obtained that Warning,
                       5
                           the emails and voicemails stopped.
                       6
                                 54.    But her behaviour did not stop completely. For example, Harvey sent
                       7
                           me another handwritten letter along with some underpants. The letter stated “you’ve
                       8
                           not unblocked your email . . . so have not checked my emails. Here are some lucky
                       9
                           [under]pants.” The outside of the envelope claimed, “if you unblocked your email
                  10
                           you would see I’ve sent you good wishes.” Attached hereto as Exhibit 52 is a true
                  11
                           and correct copy of the August 22, 2017 letter from Harvey.
                  12
                                 55.    Throughout my in-person interactions with Harvey, I asked her on a
                  13
                           number of occasions to stop engaging in unwanted behaviour towards me. In
                  14
                           particular, I asked Harvey to stop attending my gigs, to refrain from making
                  15
                           advances towards me and to stop speaking to customers about me, but it was like
                  16
                           trying to reason with someone who knew no bounds. I did not change my number
                  17
                           because I strongly felt that it was up to her to stop calling and that it was morally
                  18
                           wrong of me to change my number based on someone harassing me. I felt it was up
                  19
                           to her to adjust her behaviour around me, as the instigator and aggressor in the
                  20
                           situation. I did download software and apps which I thought should block calls from
                  21
                           unknown numbers, but none of these worked.
                  22
                                 56.    Overall, it was an incredibly stressful and worrying time, with a
                  23
                           sustained period of relentless behaviour taking place over several years. It is
                  24
                           impossible to be exhaustive in setting out all of Harvey’s conduct, as there were so
                  25
                           many instances of unwelcome personal interaction and attempts to engage, as well
                  26
                           as deeply troubling communication. However, the above provides a microcosm of
                  27
                           the sheer scale of her targeted harassment towards me.
                  28
                                                                     17
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  CENT URY CI TY
                                                                          DECLARATION OF RICHARD GADD IN SUPPORT
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                       1
                           IV.   KNOWLEDGE OF OTHER VICTIMS HARASSED BY HARVEY
                       2
                                 57.    I am also aware that Harvey has stalked and harassed other individuals
                       3
                           and had violent fantasies about others.
                       4
                                 58.    For example, on November 18, 2014, Harvey stated “I really wish my
                       5
                           Fg [sic] sister would drop dead . . . I’ll have her Fg [sic] two bit fat sack lawyer
                       6
                           struck off. Not [a]n easy thing to do in [S]cotland.” Attached hereto as Exhibit 53
                       7
                           is a true and correct copy of the November 18, 2014 email from Harvey.
                       8
                                 59.    On December 11, 2014, Harvey sent me an email that stated “sister and
                       9
                           hwer [sic] lawyer still being pains . . . ill [sic] need to disappear them[.]” Attached
                  10
                           hereto as Exhibit 54 is a true and correct copy of the December 11, 2014 email from
                  11
                           Harvey.
                  12
                                 60.    On March 3, 2015, Harvey sent me an email threatening to “shut down”
                  13
                           an estate-planning attorney’s firm because “she has []pushed me too far.” Attached
                  14
                           hereto as Exhibit 55 is a true and correct copy of the March 3, 2015 email from
                  15
                           Harvey.
                  16
                                 61.    Harvey also sent me multiple emails detailing her harassment Jimmy
                  17
                           and Laura Wray. On February 1, 2015, Harvey stated that she had been “done over
                  18
                           by the [W]rays” and she and others allegedly “done over” had “hired private
                  19
                           detectives in our law firms hence I was called a stalker.” Harvey also detailed
                  20
                           alleged blackmail she had against Labour Party members. Attached hereto as
                  21
                           Exhibit 56 is a true and correct copy of the February 1, 2015 email from Harvey.
                  22
                                 62.    On February 2, 2015, Harvey sent me an email stating “it was me who
                  23
                           called police to [W]ray and [W]alker . . . I had no choice.” Attached hereto as
                  24
                           Exhibit 57 is a true and correct copy of the February 2, 2015 email from Harvey.
                  25
                                 63.    I later became aware that the Wrays had obtained some form of
                  26
                           restraining order against Harvey.
                  27
                  28
                                                                      18
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  CENT URY CI TY
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                       1
                                 64.    Harvey also routinely referenced Jimmy and Laura Wray in her
                       2
                           voicemails to me. In the September 12–13, 2016 series of voicemails, Harvey
                       3
                           admitted that she told Jimmy Wray she would “wring [his] bloody neck” and that he
                       4
                           had reported this as a “death threat.” She also stated that she would finish her book
                       5
                           on the Labour Party “when they shoot about five more Labour [Members of
                       6
                           Parliament],” This was particularly concerning to me because a few months prior a
                       7
                           Labour MP, Jo Cox was fatally shot. (See Exhibit 45). I feared for my life around
                       8
                           Harvey at this point, with Harvey acutely aware that I was “shit scared” of her (See
                       9
                           Exhibit 26 ).
                  10
                                 65.    In addition to the Wrays, Harvey also made threatening and violent
                  11
                           comments about      REDACTED     , a Conservative councilor, in her voicemails and
                  12
                           emails claiming REDACTED called her frequently and that he owed her money. Based
                  13
                           on the voicemails and emails I received from Harvey, I believe that she also stalked
                  14
                           and harassed REDACTED Attached hereto as Exhibits 58–60 are true and correct
                  15
                           copies of June 9, 2016; June 11, 2016; and September 17, 2016 and emails from
                  16
                           Harvey.
                  17
                           V.    HARVEY COMES FORWARD
                  18
                                 66.    Throughout the process of writing the Baby Reindeer play and the
                  19
                           Series, I intentionally did not refer to Harvey by name in any way.
                  20
                                 67.    When viewers began speculating about the real-life inspirations for
                  21
                           various characters, I urged them to stop. For example, attached hereto as Exhibit
                  22
                           61 is a true and correct copy of a screenshot of my Instagram Story, dated April 23,
                  23
                           2024, in which I urged viewers to stop speculating. I never intended the Series to
                  24
                           identify any real person as Martha Scott, including Harvey. Martha Scott is not
                  25
                  26
                  27
                  28
                                                                     19
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ATTOR NEY S A T LA W
  CENT URY CI TY
                                                                          DECLARATION OF RICHARD GADD IN SUPPORT
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                       Fiona Harvey. Like all characters in the Series, Martha is a fictional character with
                   2
                       fictional personality traits that are very different than Harvey's.
                   3
                             68.    Harvey identified herself to the press as Martha after three or four other
                   4
                       people previously had been falsely identified as Martha by members of the public.
                   5
                             69.    I was surprised that Harvey appeared on Piers Morgan Uncensored.
                   6
                       Though 1 have only watched certain segments, I understand she claimed that she was
                       the inspiration for the Martha character, and that she never sent me thousands of
                       emails nor left me any voicemails. She harassed and stalked me over several years,
                       and since her interview, other individuals have contacted me through my agents and
                10
                       publicists and said they were also harassed by Harvey, but all were too scared of her
                11
                       to come forward.
                12
                13
                             I declare under penalty of perjury under the laws of the United States of
                14
                       America that the foregoing is true and correct.
                15
                16
                             Executed on July� 2024 at London, United Kingdom.


                                                                          i�
                17
                18
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  LATHAM•WATKINs-·----------------------;C;--c"N-o -=-2:-=-24-:-_c-v""":-:--;7;-:-�RG=K,,..._...,..=1R
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                                                                       DECLARATION OF RICHARD GADD I SUPPORT
                                                                       OF DEFENDANTS' SPECIAL MOTION TO STRIKE
